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                  BEFORE THE UNITED STATES JUDICAL PANEL
                       ON MULTIDISTRICT LITIGATION



   In re: Oral Phenylephrine Marketing and
           Sales Practices Litigation                                    MDL-3089




                                   Schedule of Related Actions

Case Caption             Court                     Civil Action No.         Judge
Scoffier v. Reckitt
Benckiser
Pharmaceuticals Inc.     District of New Jersey      No. 2:23-cv-20529        Hon. Evelyn Padin
and Reckitt Benckiser
LLC
Boonparn v. Reckitt
Benckiser
                         Eastern District of New
Pharmaceuticals Inc.                                  No.1:23-cv-06936       Hon. Pamela K. Chen
                                  York
and Reckitt Benckiser
LLC
Nyanjom v. Reckitt
Benckiser
Pharmaceuticals, Inc.,                               No. 2:23-cv-02426
                           District of Kansas                                Hon. Holly L. Teeter
Reckitt Benckiser
LLC, and Bayer
Corporation
Parker v. Bayer
Corporation, GSK
Consumer                   Eastern District of
                                                     No. 2:23-cv-03663       Hon. Kai Niambi Scott
Healthcare, Inc. Rite        Pennsylvania
Aid Corporation, and
Walgreen Co.
